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          EXHIBIT 10
          to the Declaration of Qifan Huang
        PUBLIC VERSION - REDACTED
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 8   YOUTUBE, LLC and GOOGLE LLC
 9                                UNITED STATES DISTRICT COURT
10                               NORTHERN DISTRICT OF CALIFORNIA
11                                   SAN FRANCISCO DIVISION
12

13   MARIA SCHNEIDER, UNIGLOBE                  )     CASE NO.: 3:20-cv-04423-JD
     ENTERTAINMENT, LLC, and AST                )
14   PUBLISHING LTD., individually and on       )     DEFENDANTS AND
     behalf of all others similarly situated,   )     COUNTERCLAIMANTS YOUTUBE,
15                                              )     LLC AND GOOGLE LLC’S AMENDED
                                                )     RESPONSES AND OBJECTIONS TO
16                 Plaintiffs,                  )
                                                )     PLAINTIFF MARIA SCHNEIDER’S
17          v.                                  )     INTERROGATORIES NOS. 3, 4, 7
                                                )
18                                              )     Judge: Hon. James Donato
     YOUTUBE, LLC and GOOGLE LLC,               )
19                                              )
                   Defendants.                  )
20                                              )
                                                )
21   YOUTUBE, LLC and GOOGLE LLC,               )
                                                )
22                 Counterclaimants,            )
                                                )
23                                              )
            v.
                                                )
24                                              )
     PIRATE MONITOR LTD, PIRATE                 )
25   MONITOR LLC, and GÁBOR CSUPÓ,              )
                                                )
26                 Counterclaim Defendants.     )
                                                )
27
                    CONTAINS CONFIDENTIAL AND HIGHLY CONFIDENTIAL
28                        ATTORNEYS EYES ONLY INFORMATION
     DEFENDANTS’ AMENDED RESPONSE TO MARIA           -1-                 CASE NO. 3:20-CV-04423-JD
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 1   Defendants further object that this Interrogatory is duplicative and cumulative of Interrogatory No.

 2   4.

 3           Defendants understand this Interrogatory to only seek information about Defendants’

 4   eligibility for protections under the Section 512(c) safe harbor, which applies to any claim for

 5   “infringement of copyright by reason of the storage at the direction of a user of material that

 6   resides on” a service. 17 U.S.C. § 512(c)(1) (emphasis added). Defendants do not construe this

 7   Interrogatory to seek information about Defendants’ affirmative defenses to copyright

 8   infringement other than the Section 512(c) safe harbor, including but not limited to the existence

 9   of a license and fair use.

10           Subject to and without waiving the above objections, Defendants refer Plaintiffs to the

11   response to Interrogatory No. 4, below.

12   INTERROGATORY NO. 4:

13          State the bases (including all facts and the application of law to fact) for Your
     contention that Defendants are entitled to the safe harbor from liability for copyright
14   infringement under 17 U.S.C. § 512.

15   RESPONSE TO INTERROGATORY NO. 4:

16           Defendants object to this Interrogatory on the grounds that it is vague, ambiguous, and
17   overly broad. In particular, Defendants object that this Interrogatory is significantly overbroad
18   insofar as it extends to any contention by Google and YouTube that they are entitled to Section
19   512’s safe harbor for “copyright infringement,” whether or not it relates to this action or to any
20   claims of infringement by Plaintiffs.
21           Defendants further object that this Interrogatory assumes a factual predicate for which
22   there is no record support at this time. In particular, Defendants object to the Interrogatory because
23   it assumes without foundation that Plaintiffs’ copyrights were infringed. Defendants further object
24   that this Interrogatory seeks information that is protected by the attorney-client privilege, the
25   attorney work-product doctrine, or both.
26           Subject to and without waiving the above objections, Defendants respond as follows:
27   Defendants satisfy the threshold eligibility requirements for protection under various DMCA safe
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 1   harbors. YouTube provides an online service and thus qualifies as a “service provider” under

 2   Section 512(k)(1)(B).

 3          YouTube’s Repeat Infringer Policy. In connection with its system of copyright “strikes,”

 4   YouTube has adopted and reasonably implements a repeat infringer policy, which provides for the

 5   termination of repeat infringers’ access to YouTube’s service in appropriate circumstances. 17

 6   U.S.C. § 512(i)(1)(A).

 7          When YouTube receives a complete and valid copyright takedown notice pursuant to

 8   Section 512(c) of the DMCA, the allegedly infringing content is removed and a copyright strike is

 9   applied to the uploading user’s channel. Channels that accrue three or more copyright strikes,

10   along with any channels associated with the uploading user’s account, are subject to termination

11   for repeat copyright infringement. When an account is terminated, YouTube takes down all videos

12   uploaded to the site from the terminated account, including videos that were not subject to any

13   DMCA notice. YouTube takes this protective step even though it may result in the removal of

14   large volumes of videos that the user may have had every right to upload and against which no

15   allegation of copyright infringement has been or could be made. In addition, YouTube employs

16   technical measures to prevent the user from creating a new account. When YouTube learns that a

17   user has circumvented an account termination to create a new account, the new account is

18   terminated. Consistent with this policy, each year YouTube terminates hundreds of thousands of

19   accounts for repeat infringement of copyright.

20          Assessing and accumulating copyright strikes.

21

22

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24                  This calculation is embedded in the logic of the copyright strike system. This

25   approach serves to afford users an opportunity to learn from their mistakes and reform their

26   behavior. Once the takedown occurs, a user cannot avoid receiving a copyright strike by deleting

27   the allegedly infringing video. If a claimant retracts its DMCA notice, the associated copyright

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 1   strike will be resolved and lifted from the uploading user’s account. Similarly, if a user submits a

 2   valid counter notification, YouTube may lift the strike. If YouTube is given proof that a court

 3   action has confirmed the alleged infringement through a default or final judgment, the strike will

 4   be reinstated.

 5          Upon receiving a first copyright strike, the user can opt to learn about copyright and

 6   become eligible to have strikes expire from their account (after 90 days) by completing an online

 7   “Copyright School” program. Once the user completes Copyright School (including passing a

 8   quiz), the strike expires after 90 days, unless a channel accrues 2 more copyright strikes within the

 9   90-day period, in which case the channel is terminated for repeat copyright infringement.

10          When content is matched through one of YouTube’s automated copyright management

11   tools, such as Content ID or Copyright Match Tool, the matches do not result in strikes being

12   assessed against users whose videos are matched because the claimant has not identified an

13   alleged infringement consistent with the DMCA. However, program participants may, at any time,

14   choose to send a takedown request for any match that they believe constitutes an alleged

15   infringement, and that notice will be handled in accordance with this policy. See, e.g., GOOG-

16   SCHNDR-00051596.

17          Trusted Enterprises Limited exemptions from standard termination. A limited number of

18   trusted enterprises, who upload large volumes of content, are involved in complex rights

19   management relationships, and have demonstrated both an understanding of copyright laws and a

20   history of copyright compliance, are treated differently under YouTube’s repeat infringer policy.

21   Examples of these trusted enterprises include major record labels, multinational media

22   conglomerates, national political campaigns, and sports leagues. For these trusted enterprises,

23   copyright strikes are still recorded when we receive valid copyright takedown notices for content

24   uploaded to their accounts, but the users will not be struck out (i.e. will not have their accounts

25   terminated) while they remain trusted enterprises. This trusted enterprise exemption is subject to

26   revocation if the user’s account accumulates what YouTube deems to be excessive strikes or

27   where YouTube deems the enterprise to have engaged in other abusive behavior. YouTube

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 1   evaluates the eligibility of trusted enterprises to remain in the program through an annual review

 2   process and upon receipt of complaints from other users. YouTube has revoked the trusted

 3   enterprise status of entities in accordance with that process, though fewer than .003% of these

 4   trusted enterprises currently carry more than three strikes.

 5          Courtesy Period. Channels operated by parties with whom YouTube has an ongoing

 6   business relationship, about whom YouTube knows more than it knows about an ordinary user,

 7   receive a Courtesy Period before their channels are terminated under the Repeat Infringer Policy.

 8   If their channels accrue three copyright strikes, the channel loses the ability to upload new videos

 9   or livestream content, but the channel operator is given seven days to seek remediation through a

10   counter notification or retraction before the channel is terminated.

11          Implementation of YouTube’s Repeat Infringer Policy. YouTube implements its repeat

12   infringer policy with a working notification system, a procedure for dealing with DMCA-

13   compliant notifications, and it does not actively prevent copyright owners from collecting

14   information needed to issue such notifications.

15          YouTube receives copyright takedown notices from a variety of entry points, including

16   mail, email, and through automated management tools like Copyright Match Tool. The vast

17   majority of takedown notices are received through YouTube’s webform. Since January of 2021,

18   YouTube typically receives more than 100,000 takedown notices per week. YouTube reviews

19   takedown notices upon receipt to determine whether the notice satisfies the statutory requirements

20   for a notice and does not otherwise carry clear indications of fraud. Once a takedown notice is

21   verified as valid and complete, YouTube applies a copyright strike to the uploading channel,

22   consistent with the policy described above. The uploading user is notified of the strike and

23   receives a warning (for the first or second strikes), or a notice that their account has been or will be

24   terminated (for any subsequent strikes). Strikes are recorded with the uploading user’s account,

25   visible to non-terminated users in their account dashboard, and tracked in YouTube’s account

26   database.

27          Today, YouTube’s Copyright Operations team employs 20 full time staff members and

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 1   326 vendors to review copyright takedown notices, remove allegedly infringing content, and

 2   assess copyright strikes. As noted above, YouTube terminates hundreds of thousands of accounts

 3   per year for repeat copyright infringement. See GOOG-SCHNDR-00037969. When a channel is

 4   terminated for repeat copyright infringement, YouTube uses

 5                                                           to propagate termination to what it believes to

 6   be associated channels. YouTube uses similar tools in an effort to detect and prevent terminated

 7   users from returning to the service with new accounts, and will terminate such accounts if it learns

 8   they are operated by users whose accounts were previously terminated for repeat infringement.

 9          To illustrate YouTube’s implementation of its policy, YouTube randomly selected 500

10   copyright complaints (takedown notices) received on or after 06/29/2020 and through 07/05/2020,

11   that resulted in a successful takedown, and recorded the takedown notice ID (Column A), the

12   number of channels associated with the notice (Column B), the number of strikes issued in

13   response to the notice (Column C), and the number of channels terminated in response to the

14   notice (Column D). Exhibit 1. YouTube also randomly selected 500 channels that were and

15   remain terminated for repeat copyright infringement due to an accrual of at least three active

16   copyright strikes, and recorded the terminated channels’ ID (Column A), the date of termination

17   (Column B), the number of active strikes at the time of termination (Column C), and the date each

18   strike accrued (Columns D-F). Exhibit 2. These samples reflect YouTube’s reasonable

19   implementation of its repeat infringer policy and its proactive efforts in responding to takedown

20   notices.

21          YouTube informs users of this Repeat Infringer policy in its Terms of Service and on

22   various pages of its website that explain YouTube’s rules and policies. See “YouTube Terms of

23   Service,” https://www.youtube.com/static?template=terms&gl=US; see also, e.g., “Rules and

24   Policies: Copyright,” https://www.youtube.com/howyoutubeworks/policies/copyright/#enforcing-

25   copyright; “YouTube Help: Copyright strike basics,”

26   https://support.google.com/youtube/answer/2814000?hl=en&p=c_strike_basics.

27          YouTube Videos are Stored at Its Users’ Direction. At minimum, YouTube qualifies for

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 1   the protections of Section 512(c) since Plaintiffs’ theory of copyright infringement appears to turn

 2   on videos uploaded to YouTube by third parties. See 17 U.S.C. § 512(c) (limiting liability for

 3   copyright infringement that occurs “by reason of the storage at the direction of a user”). In

 4   Plaintiffs’ final list of allegedly infringing videos served on February 25, 2022 (the “Alleged

 5   Infringements”), Plaintiffs identified 745 videos by URL on YouTube.com, all of which had been

 6   uploaded by YouTube users who are not party to this litigation. YouTube did not play any role in

 7   creating these videos or selecting them to be uploaded to its service. That YouTube provides

 8   various functions “to help YouTube users locate and gain access to material stored at the direction

 9   of other users” does not affect its statutory protection, because Section 512(c)’s safe harbor

10   “extends to software functions performed ‘for the purpose of facilitating access to user-stored

11   material.’” See Viacom Int’l, Inc. v. YouTube, Inc., 676 F.3d 19, 39-40 (2d Cir. 2012).

12          YouTube Did Not Have Knowledge of—or the Right or Ability to Control Coupled with a

13   Direct Financial Benefit—Plaintiffs’ Alleged Infringements. The burden of showing knowledge

14   falls on Plaintiffs, because a “service provider cannot reasonably be expected to prove broad

15   negatives.” Capitol Records, LLC v. Vimeo, LLC, 826 F.3d 78, 94 (2d Cir. 2016). Plaintiffs have

16   not produced any evidence to suggest that YouTube had actual or red flag knowledge that the

17   Alleged Infringements were infringing. As discussed below, to the extent YouTube may have

18   obtained such knowledge or awareness from the receipt of a valid DMCA notice, YouTube acted

19   expeditiously to remove, or disable access to, the Alleged Infringements identified in these

20   notices. For the Alleged Infringements that were never the subject of any takedown request prior

21   to being identified as Alleged Infringements in this case, Plaintiffs’ decisions “to forgo the DMCA

22   notice protocol stripped [them] of the most powerful evidence of a service provider’s

23   knowledge—actual notice of infringement from the copyright holder.” UMG Recordings, Inc. v.

24   Shelter Capital Partners LLC, 718 F.3d 1006, 1021 (9th Cir 2013) (cleaned up). Plaintiffs know

25   (or should know) precisely what materials they own, and are thus better able to efficiently identify

26   infringing copies than service providers like YouTube, who cannot readily ascertain what material

27   is copyrighted and what is not. Moreover, barring a valid DMCA notice, YouTube lacks

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 1   knowledge, actual or red flag, whether any of the Alleged Infringements appear on YouTube with

 2   the authorization of Plaintiffs, or are subject to defenses such as fair use. Indeed, in some

 3   situations, even Plaintiffs themselves, after over a year of investigation, were not able to determine

 4   whether an Alleged Infringement was licensed and not infringing. See, e.g., SCHNEIDER-

 5   0000122591. The law does not place the investigative duties of determining whether materials are

 6   actually infringing on service providers like YouTube. See 17 U.S.C. § 512(m)(1).

 7          Nor have Plaintiffs produced any evidence to suggest that YouTube received a direct

 8   financial benefit directly attributable to the Alleged Infringements, in a case where it had the right

 9   and ability to control the infringement. YouTube did not receive a financial benefit directly

10   attributable to the Alleged Infringements because it did not advertise itself as a place to get pirated

11   materials, did not attract primarily visitors who were seeking to engage in infringing activity, and

12   did not encourage that infringing activity in any way. To the contrary, YouTube actively works

13   with copyright owners to remove alleged infringements from its service. Similarly, YouTube did

14   not have the right or ability to control the Alleged Infringements. It did not exert substantial

15   influence on the activities of users: the users and the users alone decided what to upload and

16   YouTube did not engage in any culpable, inducing activity.

17          Designated Agent. Consistent with the requirements of Section 512(c), YouTube has

18   designated an agent to receive notices of claimed infringement and has provided its agent’s contact

19   information to the Copyright Office and on its website. See DMCA Designated Agent Directory,

20   YouTube, LLC (Effective: November 5, 2020 to Present), available at

21   https://dmca.copyright.gov/osp/publish/history.html?search=youtube&id=17a12a16f333dfd42c93

22   7a5295f99ae7; DMCA Designated Agent Directory, YouTube, LLC (Effective: November 8,

23   2017 to November 5, 2020), available at

24   https://dmca.copyright.gov/osp/publish/history.html?search=youtube&rid=e54b1160c476f4de6fa9

25   796fa9999810; Amended Interim Designation of Agent to Receive Notification of Claimed

26   Infringement, YouTube, LLC, available at

27   https://cdn.loc.gov/copyright/onlinesp/agents/y/youtubellc.pdf; “YouTube Help: Copyright

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 1   Contact Information,” https://support.google.com/youtube/answer/6005908. YouTube also

 2   provides a webform that allows copyright owners to quickly and easily submit such notices to

 3   YouTube. See “YouTube Help: Submit a copyright takedown notice,”

 4   https://support.google.com/youtube/answer/2807622.

 5            Expeditious Removal in Response to Takedown Notices. Upon receipt of a valid notice of

 6   infringement, whether sent directly to YouTube’s designated agent or submitted through its

 7   webform, YouTube expeditiously removes or blocks access to allegedly infringing content. See 17

 8   U.S.C. § 512(c)(1)(C). For example, in the second half of 2021 (the most recent reporting period),

 9   in response to complete and valid notices of infringement that satisfy the statutory criteria under

10   the DMCA, YouTube removed over 98% of videos claimed as allegedly infringing through

11   YouTube’s Copyright Management Suite within 48 hours.

12            With respect to the Alleged Infringements, YouTube searched its records to determine

13   whether Plaintiffs had submitted a valid notice of infringement that complied with the criteria set

14   forth in 17 U.S.C. § 512(c)(3). Where YouTube had received a valid notice of infringement in

15   connection with one of the Alleged Infringements (for 322 of the total 745), YouTube

16   expeditiously removed the allegedly infringing video from its public website. Attached hereto as

17   Exhibit 3 is a list of the 322 allegedly infringing videos URLs for which YouTube received a valid

18   takedown notice (Column A), along with the date the takedown notice was received by YouTube

19   (Column B), and the date the video was removed from YouTube’s public website (Column C). In

20   addition to removing the allegedly infringing video URLs, YouTube also assessed a copyright

21   strike against the uploading channel in accordance with the Repeat Infringer Policy described

22   above.

23            Standard Technical Measures. YouTube employs a variety of technical measures,

24   including its proprietary Content ID system, its Takedown Notice webform, and its internal search

25   function, to help copyright owners identify and protect their copyrighted works. However, these

26   tools are not required by the DMCA. No court has recognized the existence of any “standard

27   technical measures,” as that term is defined in 17 U.S.C. §§ 512(i)(1)(B), 512(i)(2), because there

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 1   has never been an “open, fair, voluntary, multi-industry process” through which a “broad

 2   consensus” of copyright owners and service providers developed any technology to identify and

 3   protect copyrighted works. See Register of Copyrights, Section 512 of Title 17, at 67 (“[M]ore

 4   than twenty years after passage of the DMCA, . . . not a single technology has been designated a

 5   ‘standard technical measure’ under section 512(i).”); Melville B. Nimmer & David Nimmer,

 6   Nimmer on Copyright § 12B.02 (rev. ed. 2021) (“[N]o published judicial decision has recognized

 7   the existence of qualifying standard technical measures.”). Should a court one day recognize a

 8   given technology as a qualifying “standard technical measure” under the statute, YouTube would

 9   accommodate and not interfere with its operation.

10   INTERROGATORY NO. 7:

11          State the bases (including all facts and the application of law to fact) for Your
     contention that Defendants do not have actual or constructive knowledge that uploaded
12   videos infringing Plaintiffs’ copyrights are routinely publicly performed, publicly
     displayed, distributed, and/or reproduced on YouTube. If the bases differ for YouTube or
13   Google, state the bases for each Defendant separately.
14   RESPONSE TO INTERROGATORY NO. 7:
15            Defendants object to this Interrogatory on the ground that it is vague and ambiguous. In
16   particular, Defendants object to the Interrogatory because it is vague and ambiguous in its use of
17   the term “Plaintiffs’ copyrights.” Defendants object that this Interrogatory seeks information
18   concerning works that have not been identified as works-in-suit. Defendants also object that this
19   Interrogatory assumes a factual predicate for which there is no record support at this time. In
20   particular, Defendants object to the Interrogatory because it assumes without foundation that
21   Plaintiffs’ copyrights were infringed. Defendants also object to the extent this Interrogatory
22   seeks information that is protected by the attorney-client privilege, the attorney work-product
23   doctrine, or both. Defendants also object that this Interrogatory is improper in that it purports to
24   require Defendants to prove a negative, i.e. the absence of “actual or constructive knowledge.”
25   Defendants further object that this Interrogatory is duplicative and cumulative of Interrogatory
26   No. 4.
27

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